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                                 IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE, WILMINGTON DIVISION


IN RE:                                                  :         Chapter: 11
THE BALTIMORE SUN COMPANY                               :
                                                        :
AKA: BALTIMORESUN.COM                                   :
                                                        :         BANKRUPTCY NO:        08-13209

                        REQUEST OF CREDITOR PURSUANT TO BANKRUPTCY RULE 2002(g)
                                     PROVIDING ADDRESS FOR SERVICE
                                              OF NOTICES
To the Clerk:

       1. This request is filed pursuant to Bankruptcy Rule 2002(g) for the purpose of ensuring that the creditor

listed below receives all notices required to be mailed under Bankruptcy Rule 2002 at the address below.

       2. The address to which all such notices should be sent and substituted for that of the creditor:


                                               American Express Travel Related Services Co, Inc
                                               c/o Becket and Lee LLP
                                               POB 3001
                                               Malvern PA 19355 0701


                                               By: /s/ GILBERT B. WEISMAN
                                                    Gilbert B Weisman, Esquire, PA59872
                                                    Becket & Lee LLP, Attorneys/Agent for Creditor
                                                    POB 3001
                                                    Malvern PA 19355-0701
                                                    PHONE: (610) 644-7800
                                                    FAX:       (610) 993-8493
                                                    EMAIL:     notices@becket-lee.com

                                                    DATE:           08/12/2015




Pet: 12/08/2008

                                                            ASE
